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     8 Brandy Melville
     9                       UNITED STATES DISTRICT COURT
    10                      CENTRAL DISTRICT OF CALIFORNIA
    11 Y.Y.G.M. SA d.b.a. BRANDY                    Case No. 2:19-cv-04618-RGK (JPRx)
       MELVILLE, a Swiss corporation,               Hon. R. Gary Klausner
    12
                    Plaintiff,
    13                                              PLAINTIFF’S NOTICE OF
             vs.                                    ELECTION OF STATUTORY
    14                                              DAMAGES
       REDBUBBLE, INC., a Delaware
    15 corporation,
                                                    PTSC Date: May 24, 2021
    16              Defendant.                      Trial Date: June 15, 2021
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                       PLAINTIFF’S NOTICE OF ELECTION OF STATUTORY DAMAGES
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     1        Pursuant to 15 U.S.C. § 1117(c), Plaintiff Y.Y.G.M. SA d.b.a. Brandy Melville
     2 elects to recover an award of statutory damages. Pursuant to 15 U.S.C. § 1117(a),
     3 Plaintiff will also seek an award of attorneys’ fees in a timely manner.
     4
     5 DATED: June 23, 2021                  BROWNE GEORGE ROSS
                                             O’BRIEN ANNAGUEY & ELLIS LLP
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     7                                          Ryan Q. Keech
                                                Jason Y. Kelly
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     9                                       By:        /s/ Jason Y. Kelly
                                                        Jason Y. Kelly
    10
                                             Attorneys for Plaintiff Y.Y.G.M. SA d.b.a.
    11                                       Brandy Melville
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                        PLAINTIFF’S NOTICE OF ELECTION OF STATUTORY DAMAGES
